  Case 1:21-mi-55555-JPB Document 535-10 Filed 04/24/23 Page 1 of 5


                                         Ex. H



              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

                                                 Master Case No.
IN RE GEORGIA SENATE BILL 202
                                                 1:21-MI-55555-JPB

SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH, et al.,

                   Plaintiffs,

                    v.

BRIAN KEMP, Governor of the State of             Civil Action No.
Georgia, in his official capacity, et al.,       1:21-CV-1284-JPB

                   Defendants,

REPUBLICAN NATIONAL COMMITTEE, et
al.,

                   Intervenor-Defendants.



SUPPLEMENTAL DECLARATION OF RHONDA BRIGGINS ON
   BEHALF OF DELTA SIGMA THETA SORORITY, INC.
      Case 1:21-mi-55555-JPB Document 535-10 Filed 04/24/23 Page 2 of 5




      My name is Rhonda Briggins. I am over the age of 21 and fully competent to

make this declaration. Under penalty of perjury, I declare the following based on

my personal knowledge:

      1.     I am a Black woman who is a resident of and registered voter in

DeKalb County, Georgia.

      2.     I previously provided a declaration in this case on May 20, 2022.

      3.     Delta Sigma Theta Sorority, Inc. (“Deltas”) is a national, nonpartisan,

not-for-profit membership service organization of primarily Black women

committed to the constructive development of its members and to public service

with a primary focus on uplifting the Black community. Collegiate membership

requires that a female student be currently enrolled at a college or university.

Alumnae membership requires that a female graduate earned a baccalaureate

degree from a college or university. Although Alumnae Sorors hold at least a

degree from a college or university, many of them also have obtained graduate

degrees. There are more than 350,000 Sorors nationwide. In Georgia, there are 58

chapters that include alumnae and college chapters and more than 7,500 Sorors,

most of whom are registered voters in Georgia.

      4.     Within the Deltas, I have served as Chair of Strategic Partnerships

since 2022. Before this role, I was one of the Social Action Chairs of the National

                                         2             Case No. 1:21-CV-01284-JPB
      Case 1:21-mi-55555-JPB Document 535-10 Filed 04/24/23 Page 3 of 5




Social Action Commission (“Commission”) between 2019 and 2022. The

Commission spearheads initiatives that mobilize our members, chapters, and

national leaders to advocate for Deltas’ predetermined positions and actions. In my

role as a Social Action Chair, I was responsible for advancing Deltas’ positions

and actions by implementing and overseeing those efforts at the national, state, and

local levels. Some of the positions that I worked on implementing included: voter

registration, education, and mobilization efforts; monitoring legislation at the

national, state, and local levels; and encouraging Deltas to run for elected office.

Before serving as a Social Action Chair, I served a two-year term as the Southern

Regional Social Action Coordinator for the Deltas between 2014 and 2017. In this

role, I was responsible for implementing advocacy efforts and strategy in the

Bahamas and five states, including Georgia, that focused on voter registration,

education, and mobilization initiatives, among other priorities. Before this role, I

served a two-year term as the Georgia Social Action Coordinator for the Deltas

between 2012 and 2014, focusing on implementing similar voter education and

registration initiatives, among other priorities.

      5.     Through my role as Chair of Strategic Partnerships and previous

positions within the Deltas, I am familiar with, and receive frequent updates and

proposals for activities of the Deltas, including those on behalf of our chapters and

                                          3             Case No. 1:21-CV-01284-JPB
      Case 1:21-mi-55555-JPB Document 535-10 Filed 04/24/23 Page 4 of 5




Sorors in Georgia.

      6.      Under the law, Deltas understand that S.B. 202 imposes criminal

penalties on persons “who give, offer to give, or participate in the giving of any

money or gifts, including, but not limited to, food and drink, to an elector,” even

without any conditions attached. From our understanding, these restrictions apply

within 150 feet of a polling place (“buffer zone”) or 25 feet of any voter in line

(“supplemental zone”)—no matter how far from the entrance of the polling place

they stand.

      7.      Deltas’ line-relief activities include both the act of providing voters

with basic necessities and the message conveyed through those actions. The act of

providing line relief conveys a message that words alone cannot adequately

convey. This is why Deltas believe line-relief efforts also re-affirm the dignity of

Black voters by showing a community is standing with them and supporting them.

None of this can be accomplished standing 25 feet away from voters.

      8.      Deltas have not provided line-relief in any elections in 2021, 2022, or

2023 that have occurred since S.B. 202 has been implemented because of the

criminal penalties S.B. 202 has imposed.

      9.      If S.B. 202’s line-relief ban was lifted, Deltas’ chapters and Sorors in

Georgia who had engaged in line-relief activities prior to S.B. 202’s

                                          4              Case No. 1:21-CV-01284-JPB
      Case 1:21-mi-55555-JPB Document 535-10 Filed 04/24/23 Page 5 of 5




implementation would resume those efforts. Deltas would resume line-relief

activities even if only the 25-foot supplemental zone restriction were no longer in

place but the 150-foot buffer zone remained. While the presence of the 150-foot

buffer zone would still restrict our efforts, we would be able to and intend to

resume our line-relief efforts in a limited fashion by interacting with voters waiting

on long lines past the 150-foot zone without the fear of criminal prosecution.



      I, Rhonda Briggins, declare under penalty of perjury that the foregoing is

true and correct to the best of my knowledge and recollection.

      Dated: Atlanta , Georgia



      April 17, 2023




                                         5             Case No. 1:21-CV-01284-JPB
